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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


TAMMY KITZMILLER; BRYAN AND                   :
CHRISTY REHM; DEBORAH FENIMORE                :
AND JOEL LIEB; STEVEN STOUGH;                 :
BETH EVELAND; CYNTHIA SNEATH;                 :
JULIE SMITH; AND ARALENE                      :
("BARRIE") D. AND FREDERICK B.                :
CALLAHAN,                                     :
                                              :      CIVIL ACTION
                              Plaintiffs      :
                                              :
                   vs.                        :      No. 4:04-cv-2688
                                              :
DOVER AREA SCHOOL DISTRICT;                   :
DOVER AREA SCHOOL DISTRICT                    :      (JUDGE JONES)
BOARD OF DIRECTORS,                           :
                                              :
                            Defendants        :


                               STIPULATION
           The parties, by their undersigned attorneys, stipulate and agree as

follows:
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               1.   By virtue of the Court’s order entered December 20, 2005,

plaintiffs are entitled to nominal damages and an award of attorneys’ fees and

expenses pursuant to 42 U.S.C. §1988.

               2.   This stipulation satisfies the requirements of Fed. R.Civ.P.

54(b)(2)(B).

               3.   The “fair estimate,” see id., of plaintiffs’ attorneys’ fees and

expenses is $2,067,226.00.

               4.   Defendants’ undersigned attorney has reviewed time and

expense records upon which this “fair estimate” is based.

               5.   Judgment shall be entered awarding each plaintiff One ($1.00)

Dollar in nominal damages and awarding plaintiffs Two Million Sixty-Seven

Thousand Two Hundred Twenty-Six ($2,067,226.00) Dollars for attorneys’ fees

and expenses.

               6.   In consideration of plaintiffs’ agreement respecting payment of

this judgment, defendants will not appeal this judgment.




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